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                IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                       CENTRAL DIVISION




 UNITED STATES OF AMERICA,
           Plaintiff,                                      MEMORANDUM DECISION AND
                                                           ORDER DENYING DEFENDANTS’
                                                           MOTION FOR A NEW TRIAL


                   vs.


 KATHRYN V. ERICKSON and GILMAN N.                         Case No. 2:05-CR-521 TS
 MITCHELL,
           Defendants.




       This matter is before the Court on Defendants’ Motion for a New Trial. For the reasons

set forth below, the Court will deny the Motion.

                                          I. DISCUSSION

       Fed.R.Crim.P. 33(a) states that “[u]pon the defendant’s motion, the court may vacate any

judgment and grant a new trial if the interest of justice so requires. . . .” “Any motion for a new

trial grounded on newly discovered evidence must be filed within 3 years after the verdict or

finding of guilty. . . .”1 Defendants argue that they are entitled to a new trial based on the




       1
        Fed.R.Crim.P. 33(b)(1).

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government’s alleged failure to disclose exculpatory information as required by Brady v.

Maryland.2

        “A defendant who seeks a new trial under Rule 33 based on an alleged Brady violation

must show that ‘(1) the prosecution suppressed evidence, (2) the evidence was favorable to the

defendant, and (3) the evidence was material.’”3

        Defendants argue that two pieces of evidence were suppressed by the prosecution: (1) a

1999 examination performed by Robert Foley (the “Foley Examination”); and (2) Exhibit 4-B,

Uintah Special Service District, Analysis of Gravel Hauling at Hamaker Bottoms Contract

(“Exhibit 4-B”). Defendants’ arguments on each of these pieces of evidence contain a fatal flaw.

As to the Foley Examination, this evidence is not material. As to Exhibit 4-B, Defendants cannot

argue that it is new evidence because it has been in their possession.

A.      THE FOLEY EXAMINATION

        “Evidence is material under Brady only if there is a reasonable probability that, had the

evidence been disclosed to the defense, the result of the proceeding would have been different.

A reasonable probability is a probability sufficient to undermine confidence in the outcome.”4

        Defendants argue that the Foley Examination constituted exculpatory evidence which was

suppressed by the government. In particular, Defendants allege that the Foley Examination

would have shown that there were no improprieties in the way that hauling contracts were

awarded by Uintah County or the Uintah Special Services District.


        2
            373 U.S. 83 (1963).
        3
       United States v. Velarde, 485 F.3d 553 (10th Cir. 2007) (quoting United States v.
Quintanilla, 193 F.3d 1139, 1149 & n.10 (10th Cir. 1999)).
        4
            Id. (quotation marks and citations omitted).

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        Defendants continue, as they have throughout this litigation, to conflate two separate and

distinct issues: (1) alleged wrongdoing concerning the awarding of hauling contracts; and (2) the

interference with a grand jury investigation. It is the second issue, not the first, for which

Defendants were tried and ultimately convicted. Any information as to whether or not there were

improprieties in the way that hauling contracts were awarded is irrelevant and immaterial. This

is the only issue to which the Foley Examination speaks. Because the Foley Examination

provides no information concerning the conduct for which Defendants were indicted it is

irrelevant and immaterial. Thus, Defendants have failed to meet their burden under Brady

regarding the Foley Examination.

B.      EXHIBIT 4-B

        The Tenth Circuit has held that “a defendant’s independent awareness of the exculpatory

evidence is critical in determining whether a Brady violation has occurred. If a defendant

already has a particular piece of evidence, the prosecution’s disclosure of that evidence is

considered cumulative, rendering the suppressed evidence immaterial.”5

        Here, Defendants’ own submissions belie their assertion that they did not have access to

Exhibit 4-B. After her conviction, but prior to sentencing, Defendant Erickson discussed Exhibit

4-B in her pro se Motion for Acquittal6 and submitted this very document to the Court in support

of that Motion.7 In fact, Defendant Erickson highlighted the exact provision which Defendants

now seek to use to show alleged inconsistencies between McCurdy’s previous statements and her



        5
         Quintanilla, 193 F.3d at 1149.
        6
         Docket No. 132, at 23.
        7
         See Docket No. 137.

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trial testimony. At that time, Erickson did not argue the Exhibit 4-B was newly discovered

evidence. Indeed, the Court previously found that the evidence submitted by Defendant Erickson

in her pro se Motion was not newly discovered.8 From this, the Court can only conclude that

Defendants were aware of Exhibit 4-B and had access to that document prior to trial. Any

disclosure from the government would have been cumulative. Defendants cannot now claim that

this is “new evidence” that would entitle them to a new trial under Rule 33.

       It is therefore

       ORDERED that Defendants’ Motion for a New Trial (Docket Nos. 167 and 169) is

DENIED.

       DATED February 4, 2008.

                                             BY THE COURT:



                                             _____________________________________
                                             TED STEWART
                                             United States District Judge




       8
        Docket No. 155, at 11.

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